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EXHIBIT F
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LOFT DIS

COPY

SUPERIOR COURT OF NEW JERSEY
LAW DIVISION - BERGEN COUNTY
DOCKET NO. BER-L-7268-16

NEXTGEAR CAPITAL, INC., ‘
Plaintiff, :
~VS-

THE LUXURY HAUS INC., and
ANTONIO L. GUTIERREZ,
jointly and severally,

we ee ee ee

Defendants.

Oral deposition of PAUL GUTIERREZ was taken
at the law offices of Tan J. Hirsch & Associates, 75
Bssex Street, Suite 220, Hackensack, New Jersey,
before ANNA MARIA FASCIANO, License No.
30X100200300, a Certified Court Reporter of the
State of New Jersey and Notary Public of the State
of Pennsylvania, on Monday, April 10, 2017,

commencing at 10:25 a.m.

DANER & KIRSH COURT REPORTING SERVICES, INC.
374 Shady Brook Drive
Langhorne, Pennsylvania 19047
215-968-2749 or 609-393-3001
drsteno@verizon.net

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f 37 sheets

70 72
1 Q. So previously I had asked you, Mr. 1 doing with the money?
2 Gutierrez, had your brother given you a loan or a 2 A. Nothing. I -- it went to DeMaio. 1
3 gift, your brother or his business given you a loan 3. literally had It, I mean, a short period of time.
4 ora gift in excess of $10,000 and you had said no, 4 Q. Okay.
5 A. Because it wasn't a loan or a gift. 5 A. Tt went straight to DeMaio.
6 Q. Right. This money wasn't intended for 6 Q. So when your brother gave you the
7 you to be -- 7 money, you knew it was going to DeMaio?
8 A. Correct. 8 A. Yeah, it went to DeMaio, yeah. I
9 Q. — -- the ultimate holder -- 9 didn't know -- I didn't know It was going to DeMaio,.
10 A. Yes. 10 He didn't want his wife getting -- getting ahold of
1i Q.  -- of this money, correct? 11 it.
12 A. Absolutely, yes. 12 Q. Okay.
13 Q. Sol had also asked you about your 13 A. — So it went -- but it went to DeMalo
id understanding of what happened with Mr. DeMaio, 14 literally a week later, a week or two weeks later,
15 correct? is if that.
16 A. Correct. 16 Q. When did you find out It was going to
17 Q. And you said you knew about the million 17 DeMalo?
is dollars but you don't know what it was for, right? 18 A. The same day that he told me. Not when
19 A. Right. Yeah, 19 he gave me the milllon dollars but the same day he
20 Q. That million dollars, this is the same 20 said I need the million dollars golng to DeMaio.
21 ~mitlion dollars that your attorney has now 21 Q. Okay.
22 ~referenced, correct? 22 A. That same day the million dotlars went
23 A. Correct. 23. ta DeMaio,
24 Q. There isn't a second million dollars, 24 Q. Between the time you were handed the
25 right? 25 money and the time it went to DeMalo, what did you
71 73
1 A. No, that's ft. 1 think was going to happen to the money?
2 Q. Okay. So your brother had asked you to 2 A. Don't know. Don't know. Don't know --
3 hold onto this money. When was that? 3 I mean, to my knowledge, it was customers, NextGear
4 A. Right around the same time everything 4 and it was so his wife wouldn't get to it, that's
5 happened, his wife -- his wife was trying to get -- 5 it. Those are my three understandings. Obligations
6 was trying to, you know, get ahold of the money. So 6 that he had. He -- Tony knows that his obligations
7 it was just -- Intention of his wife not getting, 7 was customers, NextGear, Who came first, he didn't
B you know, not getting the money. And eventually, I 8 know, But customers and NextGear was -- Tony knew
9 don’t know what the million dollars was for, but my 9 it was going to be an obligation.
10 guess was to -~- if needed to take care of customers, i0 Q. Okay.
11 anything with NextGear or anything like that, i1 A. — And the Jast thing he wanted was his
12 MR. HIRSCH: I'll object. You're not 12. wife to try to get ahold of that and now he couldn't
13 supposed to guess. Either you know or you don't 13. meet his obligations.
14 know. 14 Q. Okay. When he gave you this money,
15 THE WITNESS: Right. iS were you already working at the Volkswagen store?
16 MR. HIRSCH: If you're not sure, then 1 16 A. No.
17. don't know, 17 Q. Okay. So you started working at the
i8 THE WITNESS: Okay. 18 Volkswagen store after you -- after the million
19 19 dollars was turned over to DeMalo?
20 BY MR. BUSH: 20 A. After.
21 Q. Okay. When your brother gave you the 21 Q. Did DeMaio hire you directly or was it
22. money to hold onto, what was your understanding as 22 somebody else?
23 to how long you were going to hold onto it? 23 A. DeMaio hired me directly.
24 A. There was no understanding. 24 Q. Okay.
25 Q. Okay. What did you think you were 25 A, But one thing had nothing to do with

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78 / 80

1 that money. So, you know, he -- listen, he didn’t 1 [ TD was the other one,

2 know who -- who to do right by first, customers or 2 | Q. Okay. So you got the two million

3 NextGear or NextGear or customers, you know, So he | 3° dollars, you split it between these two accounts.

4 was -- to my understanding, he was trying to do the 4 A. Yeah,

5 right thing and making payoffs to customers because 5 | Q. The two milllon dollars that came to

6 payoffs were made, You know, customers trade in 6 you was in what form; was it in multiple checks or
7 their vehicles, which -- and I believe NextGear sees 7 | one--

& those cars anyway. 8 A. Checks. Checks. Multiple checks.

9 9) Q. Multiple checks.
10. «BY MR, BUSH: 10] A.  Uh-hmm.
ii Q. Okay. So these payoffs or refunds that 11) Q. Okay. And do you remember what bank
12. were given to customers -- 12 they were drawn on?
13 A. Refunds that were given to customers. 1p A. No, I don't,
14 Payoffs that were made to lending institutions, they 1 Q. Okay. Do you still have a list of the
15 trade in a vehicle, they had to make payoffs, You 5” customers who you sent refund checks to?
16 know, money got funded, they had to make payoffs. I | i6 A. No.

17 mean, deals were funded, so... i7 Q. Okay.

18 Q. What account were these from? 18 A. No, everything -- I would get a -- I

cs A.  PNC Bank, Or PNC account which the 19. would get a text message or a call fromUz. She 4
20 prosecutor's office has the accounts. 20 would tell me customer name, I would have to geta
2i Q. And that PNC account was inthe name of | 21 certified check. Mainly it was all certified
22 The Luxury Haus? 22 checks. We also had payroll people still working at
23 A. It was in the name of Luxury Haus, yes. 23 the time. We did payroll out of those. accounts as
24 Luxury Haus of Leonia. And XAM Global. X-A-M 24 «well.
25 Global, which is my -- it was my company. The 25 Q. So, but you were acting at Liz's

79 81

1 initials of each of my kids. And my son is Xavi, so 1 direction?

2 Isay XAM. 2 A. Yeah, Liz. Liz and Tony, Uh-hmm.

3 Q. What did XAM Global do? 3 Q. Po you still have the same phone that
4 A. Nothing. I was on 1099 with Luxury 4 you had at that time?

5 Haus as of last June, May or June of 2016, Because 5 A. No. No. No.

6 of what we were experiencing, I took a huge pay cut. 6 Q, ‘You're not sure?

7 Because of a pay cut for -- for purposes I went on 7 A. I'm not sure. I'm not sure because I
8 1099 -- 8 did get a phone, this one, because I switched from
9 Q. Okay. 9 AT&T to Verizon. But I think I might have, yes.
10 A.  -- so 1 could show more of a net. 10 Q. 50 you think you have a new phone?
LL Q. Okay. Is XAM Global still existing 11 A. No, no, I think I might have the...
12 today? 12 Q. You think you have texts from Liz
13 A, Wo, After the prosecutor's office, I 13 telling you which customers to submit refunds to?
14 gota letter in the mail and they shut down the 14 A, — That's what I'm checking now.

15 account. 15 MR. HIRSCH: What's that?
16 / Q. Okay. Now, the PNC account was Luxury | 16 A. See one that...

af Haus of Leonia? 17 So that's payroll. I can only go back
18\ A. Wo, that's a TD account. I'm sorry, TD 18 tothat. Sol have this, for example. You're not
19 account, It was Luxury Haus of Leonia. 19 taking my phone, right, as an exhibit? Sorry.
20 Q. That was TD -- 20 Tony said to call the -- Tony said to
21 A. Which the prosecutor as well has. 21 ~call Dave Martin. Please, very important, That's
22 Q. Okay. So the checks you wrote te 22. +the warranty company. Need two $9,000 cashier
23 ~=refund to customers were on the TD account? 23 checks. So that's what I -- you know, that's what
24 A. Both. Both. Both. Money was used 24 «they would have me -
25 from both accounts to refund. XAM Global was PNC, 25 Q. Those are the kinds of things --

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